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‘b _ court UNITED STATES DISTRICT COURT
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®"—UNITED STATES OF AMERICA, §
§
§
Vv. §
§
§ No. 3:20-CR-00389
PATRICK WOOD CRUSIUS, § (The Honorable David C. Guaderrama)
§
§
Defendant. §
§

[PROPOSED] ORDER |

Upon consideration of the Motion to Unseal filed by the United States of America (the

“Government”) and the Motion to Intervene and Unseal filed by El Paso Matters, any

opposition(s) thereto, and the entire record herein, it is hereby ORDERED that:

i.

El Paso Matters’ motion to intervene for the limited purpose of seeking access to sealed
pleadings, records, and files in the above-captioned case is GRANTED;

The Government’s motion to unseal the judicial records identified as ECF Nos. 73, 233,
234, 235, 2416, 247, 248, 249 1, 2, 3, and sealed attachments 1—4 to ECF Nos. 72 and 73

is GRANTED;

3. El Paso Matters’ motion to unseal the remaining sealed judicial records in this matter,

including, specifically, those identified as ECF Nos. 118, 118-1, 118-2, 118-3, 127-28,
168, 170, 184, 244, 244-1, 245, 250, 250-1, 251, 253, 260, 266-1, 266-2, 267-71, and

282 is GRANTED; and

4. The clerk is directed to place on the public docket a copy of all previously sealed judicial

records in this matter,
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SO ORDERED.

Hon. David C. Guaderrama
United States District Judge
